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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                                                    CASE NUMBER:

 BLM PRODUCTS, LTD.
                                                        2:17−cv−06224−RGK−PLA
                                    Plaintiff(s),

       v.
 COVVES, LLC


                                                            ORDER/REFERRAL TO ADR
                                  Defendant(s).




      The Court, having considered the parties' Request: ADR Procedure Selection, the Notice
 to Parties of Court−Directed ADR Program, or the report submitted by the parties pursuant to
 Fed. R. Civ. P. 26(f) and Civil L.R. 26−1, hereby:
     ORDERS this case referred to:
          ADR PROCEDURE NO. 1: ( district judge or           magistrate judge assigned to the
 case for such settlement proceedings as the judge may conduct or direct).
         ADR PROCEDURE NO. 2: This case is referred to the ADR Program. Within
 twenty−one (21) days, plaintiff shall obtain the consent of a neutral listed on the Court's
 Mediation Panel who will conduct the mediation, and file form ADR−2, Stipulation Regarding
 Selection of Panel Mediator. If the parties have not selected and obtained the consent of a
 Panel Mediator within twenty−one (21) days, the ADR Program (213−894−2993) will assign
 one. Forms and a list of the Panel Mediators are available on the Court website,
 www.cacd.uscourts.gov. Absent extraordinary circumstances, parties cannot request a
 continuance within three (3) business days of a scheduled mediation.
            ADR PROCEDURE NO. 3: (Private mediation).
     The ADR proceeding is to be completed no later than:                          .
     The Court further sets a status conference for:                           .
      For ADR Procedure Nos. 1 and 3, counsel are responsible for contacting the judge or
 private mediator at the appropriate time to arrange for further proceedings.

      IT IS SO ORDERED.


 DATED: December 11, 2017
                                                    R. Gary Klausner
                                                    United States District Judge

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